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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF ILLINOIS


 UNITED STATES OF AMERICA,
 Plaintiff,

 v.                                                                   Case No. 14–CR–40085–JPG

 MARTELL L. BROWN-WRIGHT,
 Defendant.

                         MEMORANDUM OPINION AND ORDER

       Before the Court is Defendant Martell L. Brown-Wright’s Motion for Compassionate

Release. (ECF No. 47). For the reasons below, the Court DENIES Brown-Wright’s Motion.

I.     PROCEDURAL & FACTUAL HISTORY

       A. The Conviction

       In 2014, a federal grand jury in this District indicted Brown-Wright for possessing and

distributing crack cocaine within 1,000 feet of public housing, as well as for possessing a firearm

to further a drug-trafficking crime. (Indictment 1–3, ECF No. 1). He pleaded guilty six months

later, (Plea Agreement 1, 11, ECF No. 26); and the Court sentenced him to a 123-month term of

imprisonment, (Judgment 2, ECF No. 35). He is currently incarcerated at Federal Correctional

Institution (“FCI”) Forrest City Low in Arkansas. (Def.’s Mot. for Compassionate Release at 2).

       B. The Presentence Investigation Report

       Before sentencing, the Court considered the Presentence Investigation Report (“PSR”)

prepared by the U.S. Probation Office, which provided information about the nature and

circumstances of the offense and Brown-Wright’s background. (See First Revised PSR 1, ECF

No. 32).
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        According to the PSR, state law-enforcement officers discovered in 2014 that Brown-

Wright was selling crack-cocaine out of his residence, “a property owned by a public housing

authority.” (Id. at 4). Their source was a man that “used crack cocaine on a regular basis for the

previous year, and he obtained all of his crack cocaine from ‘Low Key’ (whom he identified

through a photograph as Martell Brown-Wright.” (Id.). He advised that he bought crack-cocaine

from Brown-Wright 20 to 30 times, and that Brown-Wright “always had a gun on him.” (Id.).

        Through a confidential source, the officers conducted three controlled buys from Brown-

Wright over two days. (Id. at 5). Brown-Wright informed the confidential source that he “typically

kept his supply at his residence, but on the third of the month, he had ‘too much business to do

that day’) (the day that government assistance checks were issued).” (Id.). Each of the controlled

buys occurred “at or near” Brown-Wright’s home, where he lived with “three small children.”

(Id.). The officers executed a search warrant at the end of the week, during which they located

“6.2 grams of crack cocaine . . . ; $870 in U.S. currency; a Tauris, .22 caliber handgun with a

magazine containing six cartridges seated in the pistol and one cartridge in the chamber . . . ; and

a Jennings, .22 caliber handgun loaded with fix cartridges and one loose cartridge.” (Id.). Further

investigation revealed more cash hidden in furniture, “a North American Arms, .22 caliber

handgun,” and “[a] red suitcase . . . contain[ing] ammunition.” (Id.).

        Before committing these crimes, Brown-Wright carried convictions for retail theft (2003),

impersonation to deceive law enforcement (2006), and possession of marijuana (2006 and 2012).

(Id. at 8–9).

        C. Brown-Wright’s Motion for Compassionate Release

        In 2020, Brown-Wright moved for a sentence modification under 18 U.S.C.

§ 3582(c)(1)(A), also called compassionate release. (Def.’s Mot. for Compassionate Release at 1).




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He contends that a serious medical condition—asthma—makes him especially vulnerable to the

COVID-19 virus. (Id.). That said, he previously “tested positive for COVID-19” and has

presumably recovered. (See id.).

          The COVID-19 virus, of course, is now a global pandemic. At FCI Forrest City Low,

48 inmates currently have COVID-19; 636 have recovered; and none have died. Coronavirus,

Bureau of Prisons (last visited Nov. 6, 2020). 1 In brief, Brown-Wright argues that his increased

risk of experiencing serious complications if he contracted COVID-19 (again) is an extraordinary

and compelling reason warranting his release. (Def.’s Mot. for Compassionate Release at 1).

    II.   LAW & ANALYSIS

          The Court recognizes that compassionate release is appropriate for some defendants given

the COVID-19 pandemic. Even so, each defendant moving for compassionate release bears the

burden of showing not only that they face an increased risk from the virus, but also that their

continued incarceration is unnecessary to advance the statutory purposes of punishment (i.e.,

justice, deterrence, incapacitation, and rehabilitation). Brown-Wright failed to meet that burden.

               A. Legal Standard

          District courts generally “may not modify a term of imprisonment once it has been

imposed . . . .” 18 U.S.C. § 3582(c). That said, an exception exists for when “extraordinary and

compelling reasons warrant such a reduction . . . .” Id. § 3582(c)(1)(A)(i). Even then, however, the

sentencing judge must still “consider[] the factors set forth in section 3553(a) to the extent that

they are applicable . . . .” Id. § 3582(c)(1)(A). The burden of proof rests on the defendant. See

United States v. Jones, 836 F.3d 896, 899 (8th Cir. 2016); United States v. Green, 764 F.3d 1352,

1356 (11th Cir. 2014).



1
    Available at https://www.bop.gov/coronavirus/.


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       The § 3553(a) factors include:
                   (1)    The nature and circumstances of the offense and the history and
                          characteristic of the defendant;

                   (2)    The need for the sentence imposed—

                             a. To reflect the seriousness of the offense, to promote respect for
                                the law, and to provide just punishment for the offense;

                             b. To afford adequate deterrence to criminal conduct;

                             c. To protect the public from further crimes of the defendant; and

                             d. To provide the defendant with needed educational or
                                vocational training, medical care, or other correctional
                                treatment in the most effective manner;

                   (3)    The kinds of sentences available;

                   (4)    The kinds of sentence and the sentencing range established for—

                             a. The applicable category of offense committed by the applicable
                                category of defendant as set forth in the guidelines . . . or;

                             b. In the case of a violation of probation or supervised release, the
                                applicable guidelines or policy statements issued by the
                                Sentencing Commission . . . ;

                   (5)    Any pertinent policy statement—

                             a. Issued by the Sentencing Commission . . . ; and

                             b. That . . . is in effect on the date the defendant is sentenced[;]

                   (6)    The need to avoid unwarranted sentencing disparities among
                          defendants with similar records who have been found guilty of similar
                          conduct; and

                   (7)    The need to provide restitution to any victims of the offense.

18 U.S.C. § 3553(a).
       “The judge need not address every factor ‘in checklist fashion, explicitly articulating its

conclusions regarding each one.’ ” See United States v. Kappes, 782 F.3d 828, 845 (7th Cir. 2015)




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(quoting United States v. Shannon, 518 F.3d 494, 496 (7th Cir. 2008)). It is enough to “simply

give an adequate statement of reasons, consistent with § 3553(a), for thinking” that a sentence

modification is inappropriate. See Shannon, 518 F.3d at 496.

               B. The § 3553(a) Factors Weigh Against Compassionate Release

          First, the Court acknowledges the particular danger posed by the COVID-19 pandemic to

prisoners, who live in close quarters and often cannot practice social distancing. “But the mere

existence of COVID-19 in society and the possibility that it may spread to a particular prison alone

cannot independently justify compassionate release . . . .” United States v. Raia, 954 F.3d 594, 597

(3d Cir. 2020). The Bureau of Prisons (“BOP”) is in the best position to know which inmates are

most susceptible to infection and whether they still pose a public-safety risk. And since

March 2020, BOP has released over 7,000 inmates that it has identified as “suitable for home

confinement.” Coronavirus, BOP (last visited Nov. 6, 2020). 2 Although not bound by any BOP

determination, the Court gives BOP some deference in this area “considering [its] statutory role,

and its extensive professional efforts to curtail the virus’s spread.” Raia, 954 F.3d at 597.

          With that in mind, the § 3553(a) factors weigh against a sentence modification here.

Brown-Wright was convicted of a serious drug offense. Although his distribution was not large

scale, he still facilitated the spread of deadly and highly addictive drugs to the public. True, the

stress and pressures of life can drive people to make bad decisions—it happens to all of us. It is

not an excuse, however, for the callous disregard of one’s neighbors, who he exploited by feeding

into their addictions for his own gain. Brown-Wright also likely exposed three children to his life

of drugs and violence, which is unacceptable. The public has a continued interest in preventing

Brown-Wright from committing more crimes, as well as in promoting respect for the law,



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    Available at https://www.bop.gov/coronavirus/.


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 emphasizing the seriousness of this offense, and deterring others from doing the same. In short,

 even considering the COVID-19 pandemic and the risks posed by it, Brown-Wright’s continued

 incarceration is necessary to ensure the safety of the community.

III.    CONCLUSION

        The Court DENIES Defendant Martell L. Brown-Wright’s Motion for Compassionate

 Release.

        IT IS SO ORDERED.

 Dated: Friday, November 6, 2020
                                                     S/J. Phil Gilbert
                                                     J. PHIL GILBERT
                                                     UNITED STATES DISTRICT JUDGE




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